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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


THE PRUDENTIAL INSURANCE                    *
COMPANY OF AMERICA,                         *
                                            *
      Plaintiff,                            *
                                            *
v.                                          *      Case No. 0:18-cv-03189-DSD-ECW
                                            *
                                            *
J.B., a minor; Z.B., a minor; and           *
ANNIE L. DAVIS, solely in her               *
capacity as guardian of J.B. and Z.B.,      *
                                            *
       Defendants.                          *


     ANSWER OF J.B., A MINOR, BY ANNIE L. DAVIS, HER GUARDIAN,
              TO PLAINTIFF’S AMENDED COMPLAINT


      Defendant J.B., a minor, appearing herein through her guardian, Annie L. Davis,

and undersigned counsel, hereby answers the Amended Interpleader Complaint (ECF No.

20) of The Prudential Insurance Company of America (“Prudential”), according to its

numbered paragraphs, as follows:

                                         PARTIES

      1.     J.B. admits the allegations of Paragraph 1.

      2.     J.B. admits the allegations of Paragraph 2.

      3.     J.B. admits the allegations of Paragraph 3.

      4.     J.B. admits the allegations of Paragraph 4.

      5.     J.B. admits the allegations of Paragraph 5.


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                                       JURISDICTION

          6.    J.B. admits the allegations of Paragraph 6.

          7.    J.B. admits the allegations of Paragraph 7.

          8.    J.B. admits the allegations of Paragraph 8.

                         FACTS SUPPORTING INTERPLEADER

          9.    J.B. admits the allegations of Paragraph 9. Moreover, Exhibit A speaks for

itself.

          10.   J.B. admits the allegations of Paragraph 10. Moreover, Exhibit B speaks

for itself.

          11.   J.B. admits the allegations of Paragraph 11. Moreover, Exhibit C speaks

for itself.

          12.   J.B. admits the allegations of Paragraph 12. Moreover, Exhibit D speaks

for itself.

          13.   J.B. admits the allegations of Paragraph 13.

          14.   J.B. admits the allegations of Paragraph 14. Moreover, Exhibit E speaks

for itself.

          15.   J.B. admits the allegations of Paragraph 15. Moreover, Exhibit F speaks for

itself.

          16.   J.B. admits the allegations of Paragraph 16.

          17.   J.B. admits the allegations of Paragraph 17.

          18.   J.B. admits the allegations of Paragraph 18.

          19.   J.B. admits the allegations of Paragraph 19.

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        20.   J.B. admits the allegations of Paragraph 20.

        21.   J.B. admits the allegations of Paragraph 21.

        22.   J.B. admits the allegations of Paragraph 22. Moreover, Exhibit A speaks

for itself.

        23.   J.B. denies the allegations of Paragraph 23.

        24.   J.B. admits the allegations of Paragraph 24.

                   THE APPROPRIATENESS OF INTERPLEADER

        25.   No answer is required in response to the allegations of Paragraph 25.

        26.   No answer is required in response to the allegations of Paragraph 26.

        27.   No answer is required in response to the allegations of Paragraph 27.

        28.   In response to the unnumbered Prayer for Relief, J.B. answers by stating

that she has counsel and does not believe she needs a guardian ad litem at this time.

However, J.B. agrees that she and Z.B. have competing interests and cannot be

represented by the same counsel effectively. Therefore, she consents to the appointment

of an independent attorney or guardian ad litem, as appropriate, to represent the interests

of Z.B. Furthering answer the unnumbered Prayer for Relief, J.B. consents to Prudential

depositing the disputed funds into the registry of the Court and being dismissed from this

action with prejudice. J.B. may consent to Prudential being awarded modest, reasonable

attorney’s fees upon presentation of the amount sought.

        All allegations in the Amended Interpleader Complaint (ECF No. 20) not

expressly admitted or addressed are hereby denied. J.B. reserves the right to amend and

supplement this Answer pursuant to Rule 15 of the Federal Rules of Civil Procedure.

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                                 PRAYER FOR RELIEF

       WHEREFORE, J.B. prays for judgment of this Court in her favor, costs, interest,

attorney’s fees to the extent authorized, and any other relief deemed just and proper.

       DATED this 13th day of May, 2019.

                                          Respectfully submitted,

                                          /s/ Michael J. Hoover
                                          Michael J. Hoover
                                          LA Bar No. 35497
                                          Interpleader Law, LLC
                                          9015 Bluebonnet Blvd.
                                          Baton Rouge, Louisiana 70810
                                          Telephone: (225) 246-8706
                                          Email: michael.hoover@interpleaderlaw.com
                                          Attorney for Defendant J.B., a minor,
                                          represented herein by Annie L. Davis, her
                                          guardian




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                      CERTIFICATE OF SERVICE

 I hereby certify that on May 13, 2019, I caused a copy of the foregoing to be filed
 electronically using the CM/ECF System. Notice of this filing will be sent by the
 Court’s electronic filing system to all parties indicated on the electronic filing
 receipt.


                         /s/ Michael J. Hoover
                              Michael J. Hoover




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